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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Civil Action No. 1:24-cv-02340-GPG-STV

 SPOT BRAND LLC,

              Plaintiff,

        v.

 GATES CORPORATION,

              Defendant.


    STIPULATED PROTECTIVE ORDER AND CONFIDENTIALITY AGREEMENT


      Scott T. Varholak, United States Magistrate Judge.

      As stipulated and requested by Plaintiff and Counterclaim Defendant Spot Brand,

LLC and Defendant and Counterclaim Plaintiff Gates Corporation (each one, a “Party”;

all together, the “Parties”) and each counsel of record in this case, this Stipulated

Protective Order and Confidential Agreement (the “Protective Order”) concerning the

treatment of Confidential Information (as hereinafter defined) is issued pursuant to Rule

26(c) of the Federal Rules of Civil Procedure, as follows:

      1.     In this action, the Parties or individuals or entities who are not Parties in this

case and from whom discovery is sought, either formally or informally, by a Party in this

case (“Third Party”) has sought and/or is seeking Confidential Information (as defined

below). The Parties also anticipate seeking additional Confidential Information during

discovery and that there will be questioning concerning Confidential Information in the

course of depositions. The Parties assert the disclosure of such information outside the




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scope of this litigation could result in significant injury to one or more of the Parties’ or a

Third Party’s business or privacy interests. This Protective Order shall apply to all

documents, materials, and information, including without limitation, documents produced,

answers to interrogatories, responses to requests for admission, deposition testimony,

and other information disclosed pursuant to the disclosure or discovery duties created by

the Federal Rules of Civil Procedure.

       2.     As used in this Protective Order, “document(s)” is defined as provided in

Federal Rule of Civil Procedure 34(a). A draft or non-identical copy is a separate

document within the meaning of this term.

       3.     “Confidential Information” includes information that is designated either

CONFIDENTIAL or HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY under this

Protective Order.

       4.     Third Parties producing materials in the course of this litigation may also

designate such materials as CONFIDENTIAL or HIGHLY CONFIDENTIAL –

ATTORNEYS’ EYES ONLY, subject to the same protections and constraints as parties

to the litigation. A copy of this Protective Order shall be served along with any subpoena

served in connection with this litigation. All materials produced by such Third Parties shall

be treated as HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY for a period of 10

business days from the date of their production to counsel for any of the Parties in this

litigation, regardless of the designation on those materials by the Third Party, so that

counsel for the Parties may have sufficient time to review the material to determine




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whether to assert that the materials contain CONFIDENTIAL or HIGHLY CONFIDENTIAL

– ATTORNEYS’ EYES ONLY of a Party.

       5.     Information designated as “CONFIDENTIAL” means any document, file,

portions of files, transcribed testimony, or response to a discovery request and/or

information, including any extract, abstract, chart, summary, note, or copy made

therefrom—not made available to the public - and that is (i) information protected from

disclosure by statute, (ii) sensitive personal, technical, business, or financial information,

(iii) trade secrets, (iv) confidential research, manufacturing, development, proprietary, or

commercial information, or (v) documents that the Party or Third Party producing the

documents (“Producing Party”) in the ordinary course of business does not or would not

disclose to a Party except in confidence, or has undertaken to maintain in confidence,

and/or is under a preexisting obligation to maintain as confidential or private — and

designated by one of the Parties or a Third Party in the manner provided below.

Information, however designated, is not CONFIDENTIAL if the information (a) was, is, or

becomes public knowledge in a manner other than by violation of this Protective Order or

other fault of the receiving Party or violation of law; (b) is acquired by the receiving Party

from a Third Party not owing a duty of confidentiality to the Party producing the documents

to the other side; (c) before receipt from the Producing Party, was lawfully possessed by

the receiving Party without a duty of confidentiality to the Producing Party; (d) is disclosed

by the Producing Party to a Third Party not owing a duty of confidentiality to the Producing

Party, subject to Fed. R. Civ. P. 26(b)(5)(B); (e) is independently developed by the

receiving Party; (f) was disclosed to the receiving Party by the Producing Party prior to



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entry of this Protective Order without a duty of confidentiality to the Producing Party; or

(g) is disclosed by the receiving Party with the Producing Party's prior written approval.

       6.     Information designated as “HIGHLY CONFIDENTIAL – ATTORNEYS’

EYES ONLY” means any document, file, portions of files, transcribed testimony, or

response to a discovery request and/or information, including any extract, abstract, chart,

summary, note, or copy made therefrom which contains extremely sensitive Confidential

Information the disclosure of which to another Party or Third Party would create a

substantial risk of serious harm that could not be avoided by less restrictive means.

       7.     Where Confidential Information is produced, provided, or otherwise

disclosed by a Party or Third Party in response to any discovery request, it will be

designated in the following manner:

              a. By imprinting the word “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL

                 - ATTORNEYS’ EYES ONLY” on the first page or cover of any document

                 produced;

              b. By imprinting the word “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL

                 - ATTORNEYS’ EYES ONLY” next to the information; or above any

                 response to a discovery request; and

              c. Whenever a deposition involves the disclosure of Confidential

                 Information, the deposition or portions thereof shall be designated as

                 CONFIDENTIAL or HIGHLY CONFIDENTIAL - ATTORNEYS’ EYES

                 ONLY and shall be subject to the provisions of this Protective Order.

                 Such designation shall be made on the record during the deposition



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                 whenever possible, but a Party or Third Party may designate portions of

                 depositions as CONFIDENTIAL or HIGHLY CONFIDENTIAL -

                 ATTORNEYS’ EYES ONLY after transcription, provided written notice

                 of the designation is promptly given to all counsel of record within thirty

                 days (30) after notice by the court reporter of the completion of the

                 transcript. All testimony shall be treated as CONFIDENTIAL Information

                 until the thirty-day period has expired.

      8.     Information designated as CONFIDENTIAL shall not, without the consent

of the designating Party or Third Party or further Order of the Court, be disclosed except

that such information may be disclosed to:

             a. attorneys actively working on this case and persons regularly employed

                 or associated with said attorneys whose assistance is required by said

                 attorneys in the preparation for trial, at trial, or at other proceedings in

                 this case;

             b. the Parties, including their designated representatives and counsel;

             c. expert witnesses and consultants retained in connection with this

                 proceeding to whom disclosure is reasonably necessary for this

                 litigation;

             d. the Court and its employees (“Court Personnel”) and the jury at trial;

             e. stenographic and video reporters who are engaged in proceedings

                 necessarily incident to the conduct of this action;




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              f. outside photocopying, coding, digitizing, data processing, graphic

                   production services, or other vendors that the Parties or their counsel

                   utilize to assist in this action;

              g. deponents, witnesses, or potential witnesses;

              h. anyone as otherwise required by law; and

              i.   other persons by written agreement of the Parties.

       9.     Documents designated as HIGHLY CONFIDENTIAL - ATTORNEYS' EYES

ONLY under the terms of this Protective Order may not be disclosed by receiving counsel

to any Party or Third Party except as set forth in subparagraphs (a) - (i) below. Under

no circumstances may any of the individuals set forth in subparagraphs (a) - (i) below

disclose HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY designated Documents

to any other individuals not listed. Subject to these requirements, the following categories

of persons may be allowed to review documents that have been designated HIGHLY

CONFIDENTIAL - ATTORNEYS' EYES ONLY pursuant to this Protective Order:

              a. outside counsel of record in this case (“Outside Counsel”);

              b. the Parties’ designated in-house counsel;

              c. independent contractor lawyers and staff members hired by Outside

                   Counsel to assist in this action and then only after independent

                   contractor lawyer and/or staff member to whom disclosure is to be made

                   acknowledges and agrees to be bound by the terms of Exhibit A hereto;

              d. court reporters engaged for depositions, hearings and other official

                   proceedings relating to this case;



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                e. experts who are bound by this Protective Order;

                f. professional translators engaged by counsel or the Court to translate

                     confidential documents;

                g. outside photocopying, coding, digitizing, data processing, graphic

                     production services, or other vendors that the Parties or their counsel

                     utilize to assist in this action;

                h. any person who is indicated on the face of a document to have been an

                     author, addressee, or copy recipient of the document, or the original

                     source of the information;

                i.   the court in which this case is pending, and its staff; and

                j.   other persons only upon consent of the Producing Party or upon order

                     of the court and on such conditions as are agreed to or ordered and then

                     only after the person to whom disclosure is to be made has executed an

                     acknowledgment (in the form set forth at Exhibit A hereto) that he or she

                     has read and understands the terms of this Protective Order and is

                     bound by it.

       10.      Confidential Information shall not be disclosed or used for any purpose

except the preparation and trial of this case.

       11.      All Confidential Information provided by a Party or Third Party in response

to a discovery request or transcribed testimony shall be subject to the following

restrictions:




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             a. It shall be used only for the purpose of this litigation and not for any

                 business or other purpose whatsoever;

             b. It shall not be communicated or disclosed by any Party’s counsel or a

                 Party in any manner, either directly or indirectly, to anyone except for

                 purposes of this case and unless an affidavit in the form of Exhibit A has

                 been signed.

      12.    Individuals authorized to review Confidential Information pursuant to this

Protective Order shall hold Confidential Information in confidence and shall not divulge

the Confidential Information, either verbally or in writing, to any other person, entity or

government agency unless authorized to do so by court order.

      13.    Prior to disclosing any Confidential Information to any person identified in

sub-paragraphs 7(c) and 8(e) (expert witnesses and consultants) or sub-paragraphs 7(g)

or 8(h) (deponents, witnesses, or potential witnesses), counsel shall provide such person

with a copy of this Protective Order and obtain from such person a written

acknowledgment in the form attached as Exhibit A stating that he or she has read this

Protective Order and agrees to be bound by its provisions. All such acknowledgments

shall be retained by counsel and shall be subject to in camera review by the Court if good

cause for review is demonstrated by opposing counsel.

      14.    No copies of Confidential Information shall be made except by or on behalf

of counsel in this litigation and such copies shall be made and used solely for purposes

of this litigation. During the pendency of this litigation, counsel shall retain custody of

Confidential Information, and copies made therefrom.



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       15.    A Party may object to the designation of information as CONFIDENTIAL or

HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY by giving written notice to the

Producing Party designating the disputed information. The written notice shall identify the

information to which the objection is made and the basis for that objection. Pursuant to

D.C.COLO.MJ VI.2, the Parties, and if necessary a Third Party, shall meet and confer in

“good faith” in accordance with D.C.COLO.LCivR 7.1(a). If the Parties, and if necessary

a Third Party, cannot resolve the discovery dispute within ten (10) business days after the

time the notice is received, the Parties shall jointly contact Chambers pursuant to the

discovery dispute procedures set forth in D.C.COLO.MJ VI.3–4. If this procedure is timely

pursued, the disputed information shall be treated as CONFIDENTIAL or HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY under the terms of this Protective Order

until the Court issues a ruling on the dispute. If this procedure is not timely pursued, the

disputed information shall lose its designation as CONFIDENTIAL or HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY and shall not thereafter be treated as

CONFIDENTIAL or HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY in

accordance with this Protective Order. The Party or Third Party designating the

information as CONFIDENTIAL or HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

ONLY shall bear the burden of persuasion in any proceeding challenging the designation

of material as CONFIDENTIAL or HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

ONLY to show that good cause exists for the material to be so designated.

       16.    Inadvertent Production of Privileged Material. Consistent with Federal Rule

of Civil Procedure 26(b)(5)(B), and Federal Rules of Evidence 502(b) and 502(d), if a



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Party inadvertently produces or provides discovery that, in whole or in part, it believes is

privileged or otherwise immune from discovery pursuant to the attorney-client privilege,

the work product doctrine, joint defense/common interest privilege, or other applicable

privilege, or protection or immunity from disclosure, the inadvertent production is not and

will not automatically be construed or deemed to be a general or specific waiver or

forfeiture of any such privilege, immunity, or work product protection that the Producing

Party would otherwise be entitled to assert with respect to the inadvertently disclosed

information and its subject matter. The Producing Party making the claim of privilege,

immunity, or protection may notify the receiving Party or Parties in writing of the claim and

the basis for it, must identify the document by Bates number, and explain the facts and

circumstances surrounding the inadvertent production. Immediately upon receiving such

a notice, the receiving Party or Parties shall make no further use of the alleged privileged

material, or information gleaned from any inadvertently produced materials, and shall

immediately segregate it in a manner that will prevent further disclosure or dissemination

of its contents. Within five (5) business days of receiving such notice, the receiving Party

or Parties must return or destroy the specified information and any copies it has; must not

use or disclose the information until the claim of privilege, immunity, or protection is

resolved; and must take reasonable steps to retrieve the information if the Party disclosed

it before being notified. Within five (5) business days after giving such notice of inadvertent

production, the Producing Party will provide a privilege log specific to such documents to

the receiving Party. Disputes relating to an inadvertent production may be brought to

Court but the Parties or a Third Party shall comply with the discovery dispute process set



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forth in D.C.COLO.MJ VI. If such Court intervention is sought, the allegedly privileged

material shall still be treated as privileged until the Court enters a ruling. If Court

intervention pursuant to D.C.COLO.MJ VI. is not sought, the material shall continue to be

treated as privileged.

       17.    Use of Confidential Information in Court Proceedings: In the event

Confidential Information is used in any court filing or proceeding in this action, including

but not limited to its use at trial, the Party seeking to file the Producing Party’s designated

information shall not quote or summarize the designated information in a publicly

accessible or filed document; but rather, shall be required by this Protective Order to file

a redacted public version. Any Party or Third Party wishing to file a document designated

as Confidential Information in connection with a motion, brief or other submission to the

Court must move the Court for an order that such information and/or documents be filed

under filing restrictions in accordance with the procedures set forth in the Local Rules of

the United States District Court for the District of Colorado. During the pendency of the

motion for filing restrictions, such designated information shall not lose its confidential

status as designated by the Producing Party. Confidential Information and pleadings or

briefs quoting or discussing Confidential Information will not be kept out of the public

record in this action, except by court order granting the motion for filing restrictions filed

by the Party or Third Party seeking to include the confidential information in a court filing.

Any such motion shall comply with the requirements of D.C.COLO.LCivR 7.2 and

demonstrate that the Confidential Information at issue is entitled to protection under the

standards articulated in Nixon v. Warner Communications, Inc., 435 U.S. 589, 598-602



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(1978) (applied in United States v. Hickey, 767 F.2d 705, 708 (10th Cir. 1985) and Crystal

Grower’s Corp. v. Dobbins, 616 F.2d 458, 461 (10th Cir. 1980)).

       18.    By agreeing to the entry of this Protective Order, the Parties or a Third Party

adopt no position as to the authenticity or admissibility of documents produced subject to

it.

       19.    Nothing in this Protective Order shall preclude any Party or Third Party from

filing a motion seeking further or different protection from the Court under Rule 26(c) of

the Federal Rules of Civil Procedure or from filing a motion with respect to the manner in

which Confidential Information shall be treated at trial.

       20.    Unless other arrangements are agreed upon in writing by the Parties or a

Third Party, within sixty (60) days of the final determination of this action, each person or

Party who has received Confidential Information shall be obligated to return the

Confidential Information, including all extracts, abstracts, charts, summaries, notes or

copies made therefrom, to the designating Producing Party, or the receiving Party may

elect to destroy the Confidential Information, including any copies, and certify that it has

been destroyed. The receiving Party, however, need not destroy or return (a) any

Confidential Information that it is required by law to maintain or (b) one archival copy of

all deposition transcripts and all materials filed with the Court, regardless of whether such

materials (including exhibits and appendices) contain or refer to Confidential Information.

       21.    The termination of this action shall not relieve counsel or other persons

obligated hereunder from their responsibility to maintain the confidentiality of Confidential




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Information pursuant to this Protective Order. However, the Court will not retain

jurisdiction over a matter once the case is closed.

       22.    This Protective Order may be modified by the Court at any time for good

cause shown following notice to all Parties and an opportunity for them to be heard.


SO ORDERED

       DATED this ___20__ day of ____December____ 2024.

                                              By the Court



                                              Scott T. Varholak
                                              United States Magistrate Judge




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                                             EXHIBIT A

                       ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

       I, _____________________________ [print or type full name], of _________________

[print or type full address], declare under penalty of perjury that I have read in its entirety and

understand the Stipulated Protective Order and Confidentiality Agreement that was issued by the

United States District Court for the District of Colorado on [date] in the case of Spot Brand LLC v.

Gates Corporation., Case No. 1:24-cv-02340-GPG-STV. I agree to comply with and to be bound

by all the terms of this Stipulated Protective Order and Confidentiality Agreement and I understand

and acknowledge that failure to so comply could expose me to sanctions and punishment in the

nature of contempt. I solemnly promise that I will not disclose in any manner any information or

item that is subject to this Stipulated Protective Order and Confidentiality Agreement to any

person or entity except in strict compliance with the provisions of this Order.

       I further agree to submit to the jurisdiction of the United States District Court for the District

of Colorado for the purpose of enforcing the terms of this Stipulated Protective Order, even if such

enforcement proceedings occur after termination of this action.

       I hereby appoint __________________________ [print or type full name] of

_______________________________________ [print or type full address and telephone

number] as my Colorado agent for service of process in connection with this action or any

proceedings related to enforcement of this Stipulated Protective Order and Confidentiality

Agreement.

Date: _________________________________


City and State where sworn and signed: _________________________________


Printed name: ______________________________
              [printed name]


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